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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

KENNETH HALL

               Plaintiff,
                                                    CIVIL ACTION NO.: 3:12-cv-657
v.                                                       BAJ/MJU

STATE OF LOUISIANA,
PIYUSH (“BOBBY”) JINDAL,
in his official capacity as Governor
of the State of Louisiana,
JAMES “BUDDY” CALDWELL, in
his official capacity as Attorney General,
TOM SCHEDLER, in his official
capacity as the Louisiana Secretary of State,
CITY OF BATON ROUGE,
PARISH OF EAST BATON ROUGE,
BATON ROUGE CITY COURT, and
JUDGES SUSAN PONDER, ALEX WALL,
AND LAURA DAVIS

               Defendants.


        PLAINTIFF KENNETH HALL’S MOTION TO DISQUALIFY COUNSEL

       NOW INTO COURT, comes Plaintiff, Kenneth Hall, through undersigned counsel and

on suggesting that for reasons shown in the accompanying memorandum, Christina Berthelot

Peck, who is listed as lead counsel in this matter for the City of Baton Rouge, the Parish of East

Baton Rouge and the Baton Rouge City Court is a material witness and has a conflict of interest

and should be disqualified from appearing herein as counsel. Mover moves for the entry of an

order disqualifying Christina Berthelot Peck from appearing herein as counsel.

                                                    RESPECTFULLY SUBMITTED:

                                                    The Law Office of Ronald R. Johnson

                                                    _s/ Ronald R. Johnson_________________
                                                    Ronald R. Johnson (La Bar Roll No. 14402)
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of January, 2013, a true and correct copy of

the foregoing “Plaintiff Kenneth Hall’s Motion to Disqualify Counsel” was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent by operation

of the Court’s electronic filing system to all counsel of record.

       Baton Rouge, Louisiana, this 7th day of January, 2013.

                                                      __/s/ Ronald R. Johnson__________
                                                      RONALD R. JOHNSON
